JS 44 (Rev. 3/9~)                                    CIVIL COVER
                                   Case 2:14-cv-02075-GEKP       SHEET
                                                            Document 1 Filed 04/09/14 Page 1 of 8
The JS-44 civil cover sheet and t          a ton contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules          This form, approved by the Judicial Conference of the United States in September 11974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                                   MIDLAND FUNDING LLC et al.
                               WILLETTE HILL                                                                         County of Residence ofFirst Listed NEW YORK
                                                                                                                                            (IN U.S. PLAINTIFF CASES)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
      (b) County of Residence of First Listed Plaintiff PHILADELPHIA                                                          LAND INVOLVED.
                        XCEPT IN U.S. PLAINTIFF CASES)
      (c)   Attorney's (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)

                 ROBERT P. COCCO, P.C.
                 1500 WALNUT ST., SUITE 900
                 PHILADELPHIA, PA 19102                                     215-351-0200

  II. BASIS OF JURISDICTION (Place a.11.!J'll-;n-<i:me"l~;D;Uy)                                  III. CITIZENSHIP 0 F PRINCIPAL PARTIES (Place an "X" in one Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                                      and One Box for Defendant)
                                                                                                                                                DEF                                                            DEF

  0 I    U.S. Government                                                                         Citizen of This State          0    I        0   I        Incorporated or Principal Place           0    4        0   4
               Plaintiff                                                                                                                                    of Business In This State


  0   2 U.S. Govermnent                        0 4   Diversity                                   Citizen of Another State        0   2         02          Incorporated and Principal Place           0   5        Os
                 Defendant                            (Indicate Citizenship of Parties                                                                      of Business In Another State
                                                       in Item III)
                                                                                                 Citizen or Subject of a         0   3         03           Foreign Nation                               06         06
                                                                                                 Foreign Country


 IV. NATURE OF SUIT                        (Place an "X" in One Box Only)
            CONTRACT                                                  TORTS                                       FORFEITURE/PENAL TY                             BANKRUPTCY                     OTHER STATUTES
0 110 Insurance                                PERSONAL INJURY                     PERSONAL INJURY               0610 Agriculture                          0422 Appeal 28 USC 158                0 400 State Reapportionment
0 120Marine                           0 310 Airplane                          0 362 Personal Injury              0 620 Other Food & Drug                                                         0 410 Antitrust
0 130 Miller Act                      0 315 Airplane Product                         Med. Malpractice            0 625 Drug Related Seizure                0 423 Withdrawal                      0 430 Banks and Banking
0 140 Negotiable Instrument                 Liability                         0 365 Personal Injury                    of Property 21 U SC                       28 USC 157                      0 450 Commerce/ICC Rates/etc.
0 150 Recovery of Overpayment         0 320 Assault, Libel &                         Product Liability           0 630 Liquor Law                                                                0 460 Deportation
  & Enforcement of Judgments Act            Slander                           0 368 Asbestos Personal            0 640 R.R. & Truck                           PROPERTY RIGHTS                    0 470 Racketeer Influenced and
0 151 Medicare Act                    0 330 Federal Employers'                      Injury Product               0 650 Airline Regs.                       0 820 Copyrights                            Corrupt Organizations
                                             Liability                              Liability                                                                                                    0 810 Selective Service
0 152 Recovery of Defaulted                                                                                      0 660 Occupational                        0 830Patent
      Student Loans                   0 340Marine                                PERSONAL PROPERTY                     Safety/Health                       0 840 Trademark                       0 850 Securities/Commodities/
        (Exel. Veterans)              0 345 Marine Product                    0 370 Other Fraud                  0 6900ther                                                                            Exchange

0 153 Recovery of Overpayment               Liability                         0 371 Truth in Lending                       LABOR                               SOCIAL SECURITY                   0 875 Customer Challenge
of Veteran's Benefits                 0 350 Motor Vehicle                     0 380 Other Personal               0 710 Fair Labor Standards                0 861 H!A (13 95 ft)                         12 USC 3410
0 160 Stockholders' Suits             0 355 Motor Vehicle                           Property Damage                     Act                                0862 Black Lung (923)                 0 891 Agricultural Acts
0 190 Other Contract                        Product Liability                 0 385 Property Damage              0 720 Labor/Mgmt. Relations               0 863 DIW C/DIW W (405 (g))           0 892 Economic Stabilization Act
0 195 Contract Product Liability      0 360 Other Personal Injury                   Product Liability                                                      0 864 SSID Title XVI                  0 893 Environmental Matters
      REAL PROPERTY                          CIVIL RIGHTS                      PRISONER PETITIONS 0 730 Labor/Mgmt. Reporting                              0 865 RSI (405(g))                    0 894 Energy Allocation Act
                                      0 441 Voting                            0 510 Motions to Vacate   & Disclosure Act                                                                         0 895 Freedom of
0 210 Land Condemnation
0 220 Force Insure                    0 442 Employment                                Sentence                   0 740 Railway Labor Act                      FEDERAL TAX SUITS                         Information Act
0230 Rent Lease & Ejectment           0 443 Housing/                              Habeas Corpus:                                                           0 870 Taxes (U.S. Plaintiff           0 900 Appeal of Fee
0 240 Torts to Land                         Accommodations                    0 530 General                      0 790 Other Labor Litigation                            or Defendant)                 Determination Under Equal
0 245 Tort Product Liability          0 444 Welfare                           0 535 Death Penalty                                                                                                        Access to Justice
 0 290 All Other Real Property        0 440 Other Civil Rights                0 540 Mandamus & Other             0 791 Empl. Ret. Inc.                     0 871 IRS -Third Party                0 950 Constitutionality of
                                                                              0 550 Civil Rights                        SecurityAct                                  26 USC 7609
                                                                                                                                                                                                 ~~Statutes
                                                                              0 555 Prison Condition                                                                                        /c                ther Statutory A~
                                                                                                                                              (PLACE AN "X" IN ONE BOX ONLY                                      AlPP ea! to
                                                                                                                                              Transferred from                                                   District
                                                                                                                                              another district                                                   Judge from
                                 0 2 Removed from                 03 Remanded from                     0   4 Reinstated or               0   5 (specify)            0 6    Multidistrict               07        Magistrate
                                      State Court                         A    ellate Court                  Reo ened                                                       Liti ation                           Jud ent
      ~E            OF ACTION          (Cite the U.S. Civil Statute under which you are filing and write brief statement of cause.
                                        Do not cite jurisdictional statutes unless diversity.)

  15 U.S.C.§1692 et seq., 47 U.S.C.§227

  VII. REQUESTED IN                        0   CHECK IF THIS IS A CLASS ACTION                             DEMAND$                                                                 CHECK YES only if de
       COMPLAINT:                               UNDER F.R.C.P. 23                                                                                                                    JURY DEMAND:
                                                 (See
  VIII. RELATED CASE(S)                          instructions):
        IF ANY

  DATE             4/q (1 '-(                                                 SIGNATURE OF ATTORNEY OF RECORD

  FOR OFFICE USE ONLY

  RECEIPT# _ _ __                AMOUNT _ _ _ _ __                 APPLYING IFP - - - - - - - JUDGE - - - - - -
                                Case 2:14-cv-02075-GEKP
                                                                  UNITED STATES DISTRICT COURT
                                                                   Document         1 Filed       04/09/14
                                                                                                       the categoryPage     2 of
                                                                                                                                   I tf .,LU -
                                                                                                                                    8 purpose of assignment
                                                                                                                                                               d (f16
FOR THE EASTERN DISTOO P
to appropriate calendar.        \l     NSYLVANIA -- DESIGNATION FORM to be used by counsel to indicate             of the case for the



Address of Plaintiff:     8112Verree Rd., B105, Philadelphia, PA 19111.
                                                                                                                                         14                  2011
AddressofDefendant:      8875 Aero Dr., Ste. 200, San Diego, CA 92123.

PlaceofAccident, lncidentorTransaction:       8112 Verree Rd., BIOS, Philadelphia. PA 19111.
(Use Reverse Side For Additional Space)
Does this case involve multidistrict litigation possibilities?
RELATED CASE, IF ANY:                 None.
                                                                                                                                                           v~o       •'G
Case Number: _ _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ __                                        Date Terminated: _ _ _ _ _ _ _ _ _ _ _ __

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?



2.    Does this case involve the same issue of factor grow out of the same transaction as a prior suit pending or within one year previously terminated action in this court?


                                                                                                                                                              YesO

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously terminated a
court?
                                                                                                                                                              YesO


CIVIL: (Place      y"   in ONE CATEGORY ONLY)

A.    Federal Question Cases:                                                                                B. Diversity Jurisdiction Cases:


       1.      D     Indemnity Contract, Marine Contract, and All Other Contracts                              1. D Insurance Contract and Other Contracts


       2.      D     FELA                                                                                      2. DAirplane Personal Injury


       3.      D    Jones Act-Personal Injury                                                                 3. 0Assault, Defamation


       4.      D    Antitrust                                                                                 4. 0Marine Personal Injury


       5.      D    Patent                                                                                    5. 0MotorVehicle Personal Injury


       6.      D    Labor-Management Relations                                                                6. Dother Personal Injury (Please specify)


       7.      D    Civil Rights                                                                              7. DProducts Liability


       8.      D   Habeas Corpus                                                                              8. D Products Liability - Asbestos


       9.      D   Securities Act(s) Cases                                                                    9. DAii other Diversity Cases


                             ecurity Review Cases




                                                                    ARBITRATION CERTIFICATION
                                                                                 (Check appropriate Category)
     ="""'-'::...:er:-~=='------------counsel of record do hereby certify:

               0    ursuant to Local Civil Rule 53.2, Section 3(c)(2). that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum
of $150, 00.       exclusive of interest and costs;


               D    Relief other than monetary damages is sought.
                                                                                                                                                         APR -9 2014
DATE:       _'1/~cz_/._f_l(_                                        Robert P. Cocco                                                                 61907
                                                                    Attorney-at-Law                                                                Attorney I. D.#
                         NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38

I certify that. to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court except as noted above.

DATE:           y/7 /ry                                           ~.£.--(-----=--=-=
                                                                    Attorney-at-Law
                                                                                                                                                   61907
                                                                                                                                                  Attorney l.D.#
                                                                                                                                                                        .
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                                      IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                CASE MANAGEMENT TRACK DESIGNATION FORM

WILLETTE HILL                                                    CIVIL ACTION

               v.
                                                                 NO.
MIDLAND FUNDING LLC et al.


In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall
complete a Case Management Track Designation Form in all civil cases at the time of filing the complaint and
serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of this form.) In the event
that a defendant does not agree with the plaintiff regarding said designation, that defendant shall, with its first
appearance, submit to the clerk of court and serve on the plaintiff and all other parties, a case management track
designation form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

         (a)        Habeas Corpus -- Cases brought under 28 U.S.C. §2241
                    through §2255.                                                    (     )

         (b)        Social Security -- Cases requesting review of a decision of the Secretary of Health and Human
                    Services denying plaintiff Social Security Benefits.                (      )

         (c)        Arbitration -- Cases required to be designated for
                    arbitration under Local Civil Rule 8.                             (    )

         (d)        Asbestos -- Cases involving claims for personal
                    injury or property damage from exposure to asbestos.              (     )

         (e)        Special Management -- Cases that do not fall into
                    tracks (a) through (d) that are commonly referred to
                    as complex and that need special or intense management
                    by the court. (See reverse side of this form for a
                    detailed explanation of special management cases.)                (     )

         (f)        Standard Management -- Cases that do not fall into any
                    one of the other tracks.

 ~huv
(Date)
                                                        ~--
                                                        Attorney-at-law

                                               ROBERT P. COCCO, ESQ.
                                                   Attorney for Plaintiff
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 GP
WILLETTE HILL,
                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


                          Plaintiff,                        Civil Action No.:   t1~
                 v.

MIDLAND FUNDING LLC.,
MIDLAND CREDIT MANAGEMENT, INC.
               Defendants.

                                          COMPLAINT

A.      .Jurisdiction and Venue

         1.      Jurisdiction arises under 15 U.S.C.§227 et seq., 28 U.S.C. §§ 1331,

1337(a), together with the pendent jurisdiction of the court. Supplemental jurisdiction

over Plaintiffs state law claims is granted by 28 U.S.C. § 1367(a). Declaratory relief is

available pursuant to 28 U.S.C. §§ 2201and2202.

        2.         Venue lies in this judicial district in that the events which gave rise to this

claim occurred here and the property which is the subject of the action is situated within

this district.

B.       Parties

         3.        Plaintiff Willette Hill, is a natural person residing at 8112 Verree Rd.,

BIOS, Philadelphia, PA 19111.

         4.        Defendant MIDLAND FUNDING LLC ("Midland") is a corporation and

wholly owned subsidiary of Encore Capital Group, Inc. with principal offices at 8875

Aero Dr., Ste. 200, San Diego, CA 92123. The principal purpose of Defendant Midland is

the purchase or collection of defaulted debts using the mails and telephone.

         5.        Defendant MIDLAND CREDIT MANAGEMENT, INC. ("MCM") is a
     Case 2:14-cv-02075-GEKP Document 1 Filed 04/09/14 Page 5 of 8




corporation wholly owned subsidiary of Encore Capital Group, Inc. with principal offices

at 8875 Aero Dr., Ste. 200, San Diego, CA 92123. The principal purpose of Defendant

MCM is the collection of defaulted debts owned by Midland using the mails and

telephone.

       6.     Midland and MCM (collectively referred to hereinafter as "Midland") is,

and at all times mentioned herein was, a corporation and a "person", as defined by 47

u.s.c. §153(10).
C.     Factual Allegations

       7.     Prior to the collection activity hereinafter described, plaintiff had an

outstanding debt to Raymour & Flanigan financed by Wells Fargo ("the debt").

        8.     Midland has called Plaintiff multiple times on her cell phones from

telephone number (800) 237-0512, including but not limited to the seventy four (74) calls

reflected in the screen captures from her cell phone attached hereto as Ex. "A".

        9.     All telephone contact by MIDLAND described herein to plaintiffs'

cellular telephone occurred via an "automatic telephone dialing system" (ATDS) and/or

system with ATD capacity, as defined by 47 U.S.C.§227(a)(l), and all calls that are the

subject of this Complaint occurred within four years of the filing of this Complaint.

        10.    Neither plaintiff nor anyone else authorized by her ever authorized

MIDLAND to call plaintiff on her cell phone number.

D.      Causes Of Action

              COUNT I - NEGLIGENT VIOLATIONS OF
  THE TELEPHONE CONSUMER PROTECTION (ACT 47 U.S.C. § 227 et seq.)

        11.    The allegations above are re-alleged and incorporated herein by reference.

        12.    The foregoing acts and omissions of defendant constitutes numerous


                                             2
      Case 2:14-cv-02075-GEKP Document 1 Filed 04/09/14 Page 6 of 8



and multiple negligent violations of the TCPA, including but not limited to 4 7

U.S.C.§227(b)(l)(iii) by each and every call in violation of the statute, pursuant to 47

U.S.C.§227(b)(1 )(B).

      COUNT II - KNOWING AND/OR WILLFUL VIOLATIONS OF THE
     TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227 et seq.

       13.     The allegations above are re-alleged and incorporated herein by reference.

       14.     The foregoing acts and omissions of Defendant constitutes numerous and

multiple knowing and/or willful violations of the TCPA, including but not limited to 4 7

U.S.C.§227(b)(l)(iii) by each and every call in violation of the statute, pursuant to 47

U .S.C.§227(b )(1 )(B).

       15.     "Willful" is defined as "the conscious and deliberate comm1ss1on or

omission of such act, irrespective of any intent to violate any ... rule or regulation of the

Commission ...." 47 U.S.C. § 312 (f)(l).

        16.    Defendant intentionally and voluntarily made at least sixty six (66) calls to

plaintiffs cell phone.

                             COUNT III
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. § 1692 et seq.

        17.    The allegations above are re-alleged and incorporated herein by reference.

        18.    The foregoing acts and omissions of Defendant ACT constitute numerous

and multiple violations of the FDCPA including, but not limited to:

               (a) §1692d, Engaged in conduct the natural consequence of which is to
                   harass, oppress, or abuse a person by continually calling a non-party to
                   the debt, plaintiff Mr. Toussaint;

               (b) § 1692d, Engaged in conduct the natural consequence of which is to
                   harass, oppress, or abuse a person insofar as both debtors are paying
                   their student loan debts under a rehabilitation schema;


                                              3
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                (c) § 1692 b( 1), Contacted third parties and failed to state that collector is
                    confirming or correcting location information;

                (d) §1692c(b), Contacted third parties other than consumer, consumer's
                    attorney, or credit bureau concerning the debt;


       19.      As a result of each and every Defendant's violations of the FDCPA,

Plaintiff is entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(l); statutory

damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

reasonable attorney's fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from each and

every Defendant herein.

                                      TRIAL BY JURY

       20.      Plaintiff is entitled to and hereby respectfully demands a trial by jury. US

Const. amend. 7. Fed.R.Civ.P. 38.

                                  PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against each and every Defendant:

       A. for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against

             each and every Defendant and for each Plaintiff;

       B. for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

             § 1692k(a)(2)(A) against each and every Defendant and for each Plaintiff;

       C. for an award of costs of litigation and reasonable attorney's fees pursuant to

             15 U.S.C. § 1692k(a)(3) against each and every Defendant and for Plaintiff;

       D. for defendants' negligent violations of 47 U.S.C.§227(b)(l), $500.00 in

             statutory damages for each and every call that violated the TCP A, pursuant to

             47 U.S.C.§227(b)(3)(B);




                                                4
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      E. for defendants' willful and/or knowing violations of 47 U.S.C.§ 227(b)(l), up

          to $1,500.00 for each and every call that violated the TCPA, pursuant to 47

          U.S.C.§227(b)(3)(B);

       F. for such other and further relief as may be just and proper.



Dated: April 8, 2014                                  RC935
                                                      ROBERT P. COCCO, P.C.
                                                      Attorney for Plaintiff
                                                      By: Robert P. Cocco, Esquire
                                                      Pa. Id. No. 61907
                                                      1500 Walnut Street, Suite 900
                                                      Philadelphia, PA 19102
                                                      (215) 351-0200
                                                     Attorney for Plaintiff




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